         IN THE DISTRICT COURT OF THE UNITED STATES
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     CHARLOTTE DIVISION
                CRIMINAL CASE NO. 3:07cr211-04

UNITED STATES OF AMERICA,              )
                                       )
                                       )
                vs.                    )             ORDER
                                       )
                                       )
GREGORY A. MASCARO.                    )
                                       )


     THIS MATTER is before the Court on the Defendant’s Unopposed

Motion to Modify Report Date [Doc. 252].

     For the reasons stated in the motion, and for cause shown, IT IS,

THEREFORE, ORDERED that the Defendant’s Unopposed Motion to

Modify Report Date [Doc. 252] is GRANTED. The Defendant is hereby

ORDERED to report to FPC Pensacola on such date as directed by the

Government, such date to be no sooner than June 8, 2009.

     IT IS SO ORDERED.

                                    Signed: May 20, 2009




   Case 3:07-cr-00211-MR-DCK   Document 255    Filed 05/20/09   Page 1 of 1
